Case 6:18-cv-00054 Document 1-2 Filed on 07/19/18 in TXSD Page 1 of 3

                                                                                                                                                        EXHIBIT




                                                                                                                                                                  exhibitsticker.com
                                                                                                                                                            A-2
                          CERTIFICATE OF SERVICE


The undersigned certifies that on 19th day of June, 20 I 8 in Cause No. 18-06-82847-C,

JOHNNIE COX VS. TRUE VALUE COMPANY, LLC, ET AL in the 267th Judicial

District Court of Victoria County, Texas there was mailed by United States Certified

Mail, Return Receipt Requested a true copy of the Citation and a copy of the Plaintiff's

Original Petition in said cause to:

TRUE VALUE COMPANY, LLC                                                                                                                                 _
REGISTERED AGENT CT CORPORA TlON SYSTEM                                                                                       <                         ~




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1999 DRY AN STREET STE 900  .                                                                                                 ~c              ~         ~
DALLAS TX 75201                                                                                                                  ~~                     z

I further certify that attached hereto is the return receipt for said document~~·


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This the      A.~              day of        ~                                               ,2018.

                                                                        CATHY STUART
                                                                        District Clerk
                                                                         Victoria County, Texas


                                                                         By:



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            . SENDER: COMPLETt=THIS SE~TION
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              so lhal we can return the card lo you.                                                                             _       Cl Addressee

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              or on !lie front if space permits.
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                                                                                   D. Is delivery addless di flerent from item 1?             D Yes
                                                                                       ll YES enter deli\oCry address below:                  D No
               TRUE VALUE COMPANY LLC
               ~EGJSTERED AGENT CT CORPORATION SYST                            ~
               1999 BRYAN STREET STE 900
               DALLAS, TX 75201          I \•

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          Case 6:18-cv-00054 Document 1-2 Filed on 07/19/18 in TXSD Page 2 of 3



CLERK OF THE COURT                                   ATTORNEY REQUESTING ISSUANCE
Cathy Stuart                                         Gavin M. Lane
115 N. Bridge, Room 330                              3501 West Waco Drive
Victoria, Texas 77901                                Waco, TX 76710


                                      THE     STATE   OF         TEXAS
                                               CITATION

NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do
not file a written answer with the Clerk who issued this citation by 10:00 a.m. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you."

TO: TRUE VALUE COMP ANY, LLC, MAY BE SERVED THREOUGH ITS REGISTERED AGENT,
    CT CORPORATION SYSTEM, 1999 BRYAN STREET, STE. 900, DALLAS, TX75201,

You are commanded to appear by filing a written answer to the Plaintiffs Original Petition before 10 o'clock
A.M. of the Monday next after the expiration of twenty days after the date of service hereof, before the
Honorable 267th Judicial District Court of Victoria County, Texas, at the Courthouse of said County in
Victoria, Texas.

Said Plaintiffs petition was filed in said Court, on the 18th day of June, 2018 in this case numbered
18-06-82847-C on the docket of said court, and styled,

JOHNNIE COX
vs.
TRUE VALUE COMP ANY, LLC, ET AL

The nature of Plaintiffs demand is fully shown by a true and correct copy of Plaintiff's Original Petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the
mandates thereof, and make due return as the law directs.

Issued and given under my hand and seal of said Court at Victoria, Texas, this the 19th day of June, 2018.

                                                     CATHY STUART
                                                     District Clerk
                                                     Victoria County, Texas




Rule 106: "--the citation shall be served by the officer delivering to each defendant, in person, a true copy of
the citation with the date of delivery endorsed thereon and with a copy of the petition attached thereto."
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Cause # 18-06-8284 7-C                             267th Judicial District Court
JOHNNIE COX VS. TRUE VALUE COMP ANY, LLC, ET AL
Address for service: TRUE VALUE COMP ANY, LLC, MAY BE SERVED THREOUGH ITS
REGISTERED AGENT, CT CORPORATION SYSTEM; 1999 BRYAN STREET, STE. 900, DALLAS,
TX 75201

                             OFFICER'S OR AUTHORIZED PERSON'S RETURN

Came to hand on the                day of                          , 2018 at             o'clock        .M. and
executed in                               County, Texas by delivering to each of the within named defendants in
person, a true copy of this citation with the date of delivery endorsed thereon, together with the accompanying
copy of the petitioner's petition, the following times and places, to wit:

Name                                   Date           Time          Place, Course and Distance from Courthouse




And not executed as to the defendant(s)                                                                         _
the diligence used in finding said defendant(s) being:                                                                _
and the cause of failure to execute this process is:--------.,---------------
can the information received as to the whereabouts of said defendant(s) being:                                        _
FEES - - Serving $            _


                                                              By:                                           Deputy
COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONST ABLE, OR CLERK OF THE COURT

In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall
sign the return. The signature is not required to be verified. If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return shall be signed under penalty of perjury and contain the
following statement:

"My name is                                          (First, Middle, Last), my date of birth is               , and
my address is                                                                                  (Street, City, Zip).
I DECLARE UNDER PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
Executed in                                County, State of                                , on the __     day of

---------                '2018.

                                                      Declarant/ Authorized Process Server

                                                      (ID # and Expiration of certification)
